     Case: 1:22-cv-04425 Document #: 1 Filed: 08/19/22 Page 1 of 26 PageID #:1




                  UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF ILLINOIS
                        EASTERN DIVISION


BRANDEN GULLA,                                      Case No.: 1:22-cv-4425

            Plaintiff,
v.

CHICAGO STATE UNIVERSITY
by and through the Board of Trustees
(in their official and individual capacities);
ZALDWAYNAKA SCOTT, in his official
and individual capacity; MATTHEW FETE,
in his official and individual capacity;
ANTOINE JENKINS, in his official and
individual capacity; VICKY SHAH, in her
official and individual capacity; LALITA
PRASAD-REDDY, in her official and individual
capacity; ALLISON ROSE, in her official
and individual capacity; and MOHAMMAD
NEWAZ in his official and individual capacity,

            Defendants.


                     COMPLAINT AND JURY DEMAND

                                    I. BACKGROUND

      1.   This is an action arising from Plaintiff’s wrongful dismissal from

           Chicago State University. Plaintiff is seeking damages for Defendants’

           violation of Title II of the Americans with Disabilities Act, Section 504

           of the Rehabilitation Act, 42 U.S.C. §1983 and violation of the Article I,
Case: 1:22-cv-04425 Document #: 1 Filed: 08/19/22 Page 2 of 26 PageID #:2




      Section 2 of the Illinois Constitution, breach of contract, negligence, and

      negligent infliction of emotional distress.

                                   II. PARTIES

 2.   Plaintiff Branden Gulla (“Plaintiff”) is a resident of Michigan and

      formerly a student of Chicago State University (“CSU”) in the College

      of Pharmacy.

 3.   Defendant Chicago State University (“CSU”) is a public university

      located in Chicago, Illinois. CSU receives federal funds as a public

      institution and is governed through its Board of Trustees. CSU has

      received federal funding at all times relevant to this litigation.

 4.   Defendant Zaldwaynaka Scott (“Scott”) is the President of Chicago State

      University.

 5.   Defendant Matthew Fete (“Fete”) is the Dean of the College of

      Pharmacy.

 6.   Defendant Antoine Jenkins (“Jenkins”) was at all times relevant to this

      case an employee or agent of Defendant Chicago State University.

 7.   Defendant Vicky Shah (“Shah”) was at all times relevant to this case an

      employee or agent of Defendant Chicago State University.

 8.   Defendant Lalita Prasad-Reddy (“Reddy”) was at all times relevant to

      this case an employee or agent of Defendant Chicago State University.


                                    -2-
Case: 1:22-cv-04425 Document #: 1 Filed: 08/19/22 Page 3 of 26 PageID #:3




 9.   Defendant Allison Rose (“Rose”) was at all times relevant to this case an

      employee or agent of Defendant Chicago State University.

 10. Defendant Mohammad Newaz (“Newaz”) was at all times relevant to this

      case an employee or agent of Defendant Chicago State University.

                      III.      JURISDICTION & VENUE

 11. This action arises under the law of the United States. Therefore, this

      Court has subject matter jurisdiction under 28 U.S.C. §1331, which

      provides district courts with jurisdiction over civil actions arising under

      the United States Constitution or laws of the United States.

 12. In accordance with 28 U.S.C. §1367, this Court also has supplemental

      jurisdiction over Plaintiff’s state law claims.

 13. Additionally, this court has diversity jurisdiction over this action

      pursuant to 28 U.S.C. §1332(a)(1) because there is diversity of

      citizenship between the parties and the amount of controversy exceeds

      75,000.

 14. Defendant CSU conducts business within the State of Illinois.

 15. The other Defendants on the grounds that they were employees of CSU

      at all times relevant to this action and personally violated certain rights

      and policies, the effects of which were felt in the State of Illinois.




                                    -3-
Case: 1:22-cv-04425 Document #: 1 Filed: 08/19/22 Page 4 of 26 PageID #:4




 16. Venue in this action is proper in the District Court because the events

      relevant to this action occurred primarily within the geographical

      confines of the Northern District of Illinois. CSU is located and conducts

      business in the Northern District of Illinois.

                     IV.       FACTUAL ALLEGATIONS

 17. Plaintiff enrolled in the College of Pharmacy of Defendant CSU in

      August of 2017.

 18. By March 2020, he had completed over three years of CSU’s four-year

      program for a degree as a Doctor of Pharmacy.

 19. By that time, Plaintiff had incurred over $150,000 in student loan debt.

 20. As a graduate Doctor of Pharmacy, Plaintiff would have been likely to

      earn $130,000 a year, which is approximately the median income in a

      hospital setting.

 21. Plaintiff would have been likely to begin to earn such annual income,

      had he been allowed to continue his rotational internships as a student

      and obtain his doctorate as he anticipated in May 2021.

 22. Plaintiff often earned A’s in his course work and had never failed a

      course.

 23. Plaintiff suffers from the medical condition or disability of ADHD.




                                    -4-
Case: 1:22-cv-04425 Document #: 1 Filed: 08/19/22 Page 5 of 26 PageID #:5




 24. Plaintiff reported his ADHD to CSU, at least some persons at CSU were

      aware of his condition.

 25. While a disability within the meaning of the Americans with Disability

      Act and the Rehabilitation Act, his condition does not interfere with his

      ability to successfully complete the College of Pharmacy program or to

      be employed after graduation as a pharmacist.

 26. The second semester of Plaintiff’s P3 year, Plaintiff was enrolled in

      DMTM2 with Professor Jenkins.

 27. Grading for DMTM2 consisted of 5 patient applications referred to as

      “SOAP Notes” in which the student had to determine the subject,

      objective, assessment, and plan for a hypothetical patient, 2 exams and 1

      class presentation.

 28. Defendant Jenkins set Plaintiff up for failure when he canceled

      numerous classes during the semester. The classes were never made up.

      Placing all students, Plaintiff in particular, in a likely to fail position

      within the class.

 29. Prior to the start of the first examination, Professor Jenkins yelled out to

      the classroom “Ya’ll don’t know shit”.




                                   -5-
Case: 1:22-cv-04425 Document #: 1 Filed: 08/19/22 Page 6 of 26 PageID #:6




 30. Another student proceeded to ask Professor Jenkins if the examination

      should be completed in ink pen. To which Professor Jenkins yelled “you

      guys can use crayons if you want”.

 31. The examination for the course was completed on Examsoft.

 32. Plaintiff completed the examination on the required ExamSoft software,

      turning in his signed notes prior to leaving the examination room.

 33. CSU procedures require students to sign and date all scratch paper used

      while taking an examination and turn it in at the end of the examination.

 34. Professor Jenkins gave Plaintiff a failing grade on the examination due

      to not writing out calculations in ExamSoft.

 35. In prior examinations points were not deducted for failing to show

      diabetes calculations on scrap paper or on the examination as the

      calculations are of an elementary level.

 36. Plaintiff’s ADHD requires him to write out mathematical equations to

      maintain focus. All mathematical calculations above the elementary level

      calculations were written out during examinations.

 37. The diabetes calculations required were elementary mathematics and

      were completed on Plaintiff’s signed scratch paper as was customary for

      these types of calculations.




                                     -6-
Case: 1:22-cv-04425 Document #: 1 Filed: 08/19/22 Page 7 of 26 PageID #:7




 38. Defendant Jenkins awarded credit for the diabetes examination

      questions then subsequently removed the diabetes questions from the

      examination scores three weeks later. This resulted in Plaintiff failing the

      examination by 0.5%.

 39. Plaintiff sought an examination review. The professors failed to appear

      for the examination review. Had the panel of professors sat for an

      examination review with the Plaintiff it is probable that the points

      deducted would have been returned to Plaintiff, which would have

      allowed Plaintiff a passing grade.

 40. Plaintiff promptly filed a grievance with CSU.

 41. Plaintiff subsequently filed an Appeal of the grievance.

 42. Defendant Rose failed to process the appeal pursuant to CSU policy and

      procedure.

 43. While the Appeal was still pending, Plaintiff registered to re-take his P3

      year as to continue furthering his education, while anticipating an

      approved appeal resulting in a registration change to P3.

 44. The appeal was dismissed as untimely stating that Plaintiff did not

      follow the required steps of contacting CSU timely, although Plaintiff

      was in contact with the office within 10 days with continuing

      conversations thereafter.


                                   -7-
Case: 1:22-cv-04425 Document #: 1 Filed: 08/19/22 Page 8 of 26 PageID #:8




 45. Plaintiff was advised by Defendant Newaz that Plaintiff was not allowed

      his attorney or student advisor to be present during the grievance/appeal

      process.

 46. Plaintiff advised Defendant Newaz that the student handbook allowed

      for the presence of Plaintiff’s attorney and student advisor. Defendant

      Newez stated “that’s the student handbook”.

 47. Plaintiff was required to appeal his grievance without this attorney or

      student advisor, a direct breach of CSU’s policies and procedures.

 48. In order to further his education, Plaintiff followed through in repeating

      his P3 year of pharmacy school at CSU.

 49. Second semester of Plaintiff’s repeated P3 year brought Plaintiff again

      found himself enrolled in DMTM2. The course was taught by Professor

      Shah and Professor Jenkins.

 50. In anticipation of repeating DMTM2, Plaintiff studied the entirety of his

      prior notes prior to the start of the semester.

 51. Plaintiff successfully completed all assignments up until the second

      examination.

 52. Plaintiff scored higher than the average on both class examinations. The

      class average on exams is between a 40-50%.




                                    -8-
Case: 1:22-cv-04425 Document #: 1 Filed: 08/19/22 Page 9 of 26 PageID #:9




 53. Plaintiff planned to meet with Professor Jenkins to discuss his

      examination grade at Professor Jenkins’ examination review period.

      Professor Jenkins failed to attend his own examination review period.

 54. Plaintiff was left without the remediation procedures outlined in CSU’s

      policies and procedures.

 55. Plaintiff’s final grade in DMTM2 was a 69.5%.

 56. Plaintiff sent Defendant Shah and Defendant Jenkins a re-grade request.

      The request included proof of correct answers from journal articles,

      clinical trials, and information from the American Heart Association.

 57. Defendant Shah and Defendant Jenkins denied Plaintiff’s re-grade

      request.

 58. Plaintiff started his first pharmacy rotation with the University of

      Chicago Hospital.

 59. Two days before Plaintiff was set to successfully complete his rotation

      at the University of Chicago Hospital Plaintiff was notified that he was

      dismissed from CSU, immediately ending his rotation.

 60. Defendant Reddy informed Plaintiff that dismissals were on a case-by-

      case basis and not to worry.

 61. Defendant Reddy proceeded with the dismissal.

 62. Plaintiff was dismissed from CSU in May of 2021.


                                     -9-
Case: 1:22-cv-04425 Document #: 1 Filed: 08/19/22 Page 10 of 26 PageID #:10




  63. Defendant Zaldwaynaka Scott, with actual knowledge of the policies and

       procedures of CSU and knowledge of the handling of students in his care

       at CSU failed to correct the wrongdoings occurring to Plaintiff and other

       students.

  64. After the dismissal, Plaintiff through counsel sought to contact CSU. No

       correspondence has been returned.

                    Respondeat Superior and Agency

  65. Under Federal and Illinois law, an employer may be vicariously liable

       for an employee’s actions when they are acting within the scope of their

       employment on behalf of the employer.

  66. At all times relevant to this action, all individual Defendants were

       employed by CSU. Some of their acts and omissions relevant to this

       litigation were undertaken within the scope of their employment with

       CSU.

  67. At the time of this Complaint, only the individual Defendants themselves

       are aware of the exact role that each individual Defendant played in the

       events that are the subject of the lawsuit. For this reason, only the

       individual Defendants know at which times each Defendant acted in a

       manner that exceeded the scope of their duties in their official capacities



                                   - 10 -
Case: 1:22-cv-04425 Document #: 1 Filed: 08/19/22 Page 11 of 26 PageID #:11




       and at which each Defendant acted in a manner that was within the scope

       of their duties in their official capacities.

                               V. CAUSES OF ACTION

                      FIRST CAUSE OF ACTION
              SECTION 504 OF THE REHABILITATION ACT

  68. Plaintiff incorporates by reference the facts alleged in each and every

       allegation set forth in the preceding paragraphs of this Complaint as if

       fully set out herein.

  69. As set forth in Section 504 of the Rehabilitation Act, no otherwise

       qualified individual with a disability shall, solely by reason of his

       disability, be excluded from participation in, be denied the benefits of, or

       be subjected to discrimination under any program of activity receiving

       federal assistance.

  70. CSU is a public university. CSU receives federal funds as a public

       institution and is subject to Title II of the Americans with Disabilities

       Act.

  71. Title II of the Americans with Disability Act, 29 U.S.C. § 12132, which

       is co-extensive with the anti-discrimination provision of Section 504 of

       the Rehabilitation Act state that no qualified individual with a disability,

       shall solely by reason of disability, be excluded from participation in any

       program of state or local government.
                                     - 11 -
Case: 1:22-cv-04425 Document #: 1 Filed: 08/19/22 Page 12 of 26 PageID #:12




  72. Plaintiff suffers from a disability as that term is defined under Section

       504 of the Rehabilitation Act and Title II of the ADA, in that he has

       ADHD.

  73. Plaintiff is a disabled individual and has been diagnosed with ADHD.

       ADHD is a learning disability that substantially limits Plaintiff’s ability

       to engage in major life activities, such as learning and reading.

  74. However, he is in no way unable to do the course work of the College of

       Pharmacy.

  75. As set forth above, the Defendant CSU placed Plaintiff on academic

       probation solely because of his disability – specifically, due to Plaintiff’s

       ADHD he completes arithmetic notes on paper during exams and turns

       them in, as allowed, Professor Jenkins verbally abused Plaintiff and

       failed him from the exam due to Professors Jenkins disorganization of

       his course.

  76. By being placed on academic probation, solely because of Professor

       Jenkins hostility to Plaintiff because of his disability, defendant CSU and

       its administration and faculty set him up and achieved his ultimate

       dismissal from the College.

  77. Defendant CSU ratified the decision of Professor Jenkins to exclude

       Plaintiff from the course, requiring him to retake the required course and


                                     - 12 -
Case: 1:22-cv-04425 Document #: 1 Filed: 08/19/22 Page 13 of 26 PageID #:13




       setting him up in a hostile environment with an ineffective instructor

       aware of his disability making him likely to fail.

  78. After Plaintiff’s dismissal CSU reorganized the entirety of the course,

       including removing Dr. Jenkins as the course coordinator. The course

       was subsequently removed from CSU’s curriculum.

  79. At the time of his dismissal, due to the “F” in Professor Jenkins’ course,

       Plaintiff had completed three years of the program in a satisfactory

       manner and had incurred over $160,000 in student debt.

  80. He was qualified to participate in the academic programs of CSU,

       including the College of Pharmacy.

  81. Plaintiff was dismissed from CSU solely because of his disability, in

       violation of Section 504 of the Rehabilitation Act and Title II of the

       ADA, and, but for his disclosure of that disability, and the academic

       discipline that followed, he would have graduated from the College of

       Pharmacy and would now be working as a licensed pharmacist today.

  82. He has been treated by CSU in a malicious manner and denied the

       formality of a hearing of his filed appeal.

  83. Plaintiff is now playing interest on his debt of over $160,000 because he

       no longer is a student.




                                    - 13 -
Case: 1:22-cv-04425 Document #: 1 Filed: 08/19/22 Page 14 of 26 PageID #:14




  84. Plaintiff has now lost the income he would have received as a Doctor of

       Pharmacy at the rate of $144,000 a year had he been allowed to continue

       in his internships and graduate as anticipated in May of 2021.

  WHEREFORE, PREMISES CONSIDERED, Plaintiff prays that this Court:

     (a) Enter judgment against Defendants and in favor of Plaintiffs for actual

          damages for financial loss, damage to reputation, humiliation, mental

          anguish, and emotional distress and punitive damages in amounts to

          be determined at trial and as are allowed under the statute;

     (b) Reinstate Plaintiff as a student in the College of Pharmacy and restrain

          defendant from any further violations of Section 504 of the

          Rehabilitation Act and Title II of the ADA, or other actions against

          him because of his disability, and require defendant to make any

          reasonable accommodation – in any – that may be necessary with

          respect to such disability, and refrain from further discriminatory acts

          in violation of federal law to prevent him from graduation from the

          College.

     (c) Order defendant to remove the “F” in Professor Jenkins course and

          the academic probation which he received solely because of

          Plaintiff’s disability.




                                    - 14 -
Case: 1:22-cv-04425 Document #: 1 Filed: 08/19/22 Page 15 of 26 PageID #:15




     (d) Enjoin defendant CSU from any further acts of discrimination in

          violation of Section 504 of the Rehabilitation Act.

     (e) Grant Plaintiff compensatory damages from CSU under Section 504

          of the Rehabilitation, including but not limited to damages for lost

          income that he would have had as a pharmacist and other

          consequential and foreseeable damages.

     (f) Grant Plaintiff compensatory damages from CSU for the yearly

          tuitions for Plaintiff wrongfully being required to retake a year of the

          program.

     (g) Enter judgment against Defendants and in favor of Plaintiff for all

          costs sustained in connection with the prosecution of this action,

          including attorneys’ fees; and

     (h) Grant such other and further relief as justice requires.

                       SECOND CAUSE OF ACTION
                             42 U.S.C. §1983
                            (Defendant CSU)

  85. Plaintiff incorporates by reference the facts alleged in each and every

       allegation set forth in the preceding paragraphs of this Complaint as if

       fully set out herein.

  86. In violation of §1983, defendant CSU has deprived Plaintiff of his rights

       to equal protection and due process under the Fourteenth Amendment in


                                   - 15 -
Case: 1:22-cv-04425 Document #: 1 Filed: 08/19/22 Page 16 of 26 PageID #:16




       that defendant willfully treated Plaintiff in a disparate manner because he

       has a type of disability that stigmatizes Plaintiff and others like him in

       and educational setting in the judgment of defendant CSU and its

       administrators and faculty.

  87. By stigmatizing Plaintiff and those like him with this condition, in

       violation of §1983 the defendant CSU deprived him of his right to equal

       protection of the laws without any substantial or justified basis treating

       him in this disparate manner.

  88. In further violation of §1983 defendant CSU also denied him of the right

       to due process before deprivation of his contractual right as a student of

       CSU on the verge of graduation from the program, with over $160,000

       invested in his education, and denied him even the due process of the

       hearing procedure set out in the College of Pharmacy Student Handbook.

  WHEREFORE, PREMISES CONSIDERED, Plaintiff prays that this Court:

     (a) Enter judgment against Defendants and in favor of each Plaintiff for

          an injunction prohibiting the Defendants’ wrongful actions, a fair

          investigation into Defendants and appropriate discipline of each of the

          individual Defendants, removal of Plaintiff’s failing grade from his

          official transcript, as well as readmitting Plaintiff to CSU to finish his

          clinical rotations;


                                     - 16 -
Case: 1:22-cv-04425 Document #: 1 Filed: 08/19/22 Page 17 of 26 PageID #:17




     (b) Grant such other and further relief as justice requires.

                        THIRD CAUSE OF ACTION
                             42 U.S.C. §1983

  89. Plaintiff incorporates by reference the facts alleged in each and every

       allegation set forth in the preceding paragraphs of this Complaint as if

       fully set out herein.

  90. Plaintiff had a constitutionally protected and clearly established property

       interest in his continued education at CSU after entering into a contract

       with CSU.

  91. Plaintiff and Defendant CSU entered into a contract by which CSU

       offered admission to Plaintiff to receive his Pharmacy degree in exchange

       for Plaintiff’s paid tuition.

  92. Plaintiff accepted Defendant’s offer and attended CSU as a student.

  93. There was a mutual exchange of consideration for which Plaintiff

       attended CSU involving payments and expenditure of time as well as

       CSU making its service including educational opportunities available to

       Plaintiff.

  94. Plaintiff had a constitutionally protected and clearly established liberty

       interest. “The Due Process Clause… forbids arbitrary deprivations of

       liberty. Where a person’s good name, reputation, honor, or integrity is at

       stake because of what the government is doing to him, the minimal
                                       - 17 -
Case: 1:22-cv-04425 Document #: 1 Filed: 08/19/22 Page 18 of 26 PageID #:18




       requirements of the Clause must be satisfied.” Goss v. Lopez, 419 U.S.

       565, 574 (1975) (internal citation and quotations omitted). The dismissal

       from CSU was detrimental to Plaintiff’s good name and reputation for

       his future academic and professional career.

  95. In violation of §1983, defendant CSU has deprived Plaintiff of his rights

       to equal protection and due process under the Fourteenth Amendment in

       that defendant willfully treated Plaintiff in a disparate manner because he

       has a type of disability that stigmatizes Plaintiff and others like him in

       and educational setting in the judgment of defendant CSU and its

       administrators and faculty.

  96. By stigmatizing Plaintiff and those like him with this condition, in

       violation of §1983 the defendant CSU deprived him of his right to equal

       protection of the laws without any substantial or justified basis treating

       him in this disparate manner.

  97. In further violation of §1983 defendant CSU also denied him of the right

       to due process before deprivation of his contractual right as a student of

       CSU on the verge of graduation from the program, with over $160,000

       invested in his education, and denied him even the due process of the

       hearing procedure set out in the College of Pharmacy Student Handbook.

  WHEREFORE, PREMISES CONSIDERED, Plaintiff prays that this Court:


                                     - 18 -
Case: 1:22-cv-04425 Document #: 1 Filed: 08/19/22 Page 19 of 26 PageID #:19




     (a) Enter judgment against Defendants and in favor of Plaintiffs for actual

          damages for financial loss, damage to reputation, humiliation, mental

          anguish, and emotional distress and punitive damages in amounts to

          be determined at trial and as are allowed under the statute;

     (b) Enter judgment against Defendants and in favor of each Plaintiff for

          an injunction prohibiting the Defendants’ wrongful actions, a fair

          investigation into Defendants and appropriate discipline of each of the

          individual Defendants, as well as readmitting Plaintiff to CSU to

          finish his degree;

     (c) Enter judgment against Defendants and in favor of Plaintiff for all

          costs sustained in connection with the prosecution of this action,

          including attorneys’ fees; and

     (d) Grant such other and further relief as justice requires.

                     FOURTH CAUSE OF ACTION
          Violation of Article I, Section II of Illinois Constitution

  98. Plaintiff incorporates by reference the facts alleged in each and every

       allegation set forth in the preceding paragraphs of this Complaint as if

       fully set out herein.

  99. The individual defendants have acted in excess of their authority under

       the Illinois Constitution and breached the obligations of their office to

       Plaintiff as a student enrolled in CSU by dismissing him from the College
                                   - 19 -
Case: 1:22-cv-04425 Document #: 1 Filed: 08/19/22 Page 20 of 26 PageID #:20




       for no reason but his disability and denying him even the right to appeal

       such action.

  100. The individual defendants by such acts have also unlawfully violated his

       rights under the due process and equal protection clauses of Article I,

       Section 2 of the Illinois Constitution.

  101. Defendants have unlawfully condoned the discrimination against him as

       a student by reason of his disability, in violation of Article I, Section 2 of

       the Illinois Constitution and the public policy of the State of Illinois and

       their duties as administrators of state-supported institutions.

  WHEREFORE, PREMISES CONSIDERED, Plaintiff prays that this Court:

     (a) Enter judgment against Defendants and in favor of Plaintiffs for actual

          damages for financial loss, damage to reputation, humiliation, mental

          anguish, and emotional distress and punitive damages in amounts to

          be determined at trial and as are allowed under the statute;

     (b) Enjoin Defendants from further violations of Article I, Section 2 of

          the Illinois Constitution;

     (c) Enter judgment against Defendants and in favor of Plaintiff for all

          costs sustained in connection with the prosecution of this action,

          including attorneys’ fees; and

     (d) Grant such other and further relief as justice requires.


                                       - 20 -
Case: 1:22-cv-04425 Document #: 1 Filed: 08/19/22 Page 21 of 26 PageID #:21




                        FIFTH CAUSE OF ACTION
                            Breach of Contract

  102. Plaintiff incorporates by reference the facts alleged in each and every

       allegation set forth in the preceding paragraphs of this Complaint as if

       fully set out herein.

  103. Plaintiff and Defendant CSU entered into a contract by which CSU

       offered admission to Plaintiff on specific terms.

  104. Plaintiff accepted Defendant’s offer and attended CSU as a student.

  105. There was a mutual exchange of consideration for which Plaintiff

       attended CSU involving payments and expenditure of time as well as

       CSU making its services including educational opportunities available to

       Plaintiff.

  106. Defendant CSU breached their policy and procedures when it failed to

       provide Plaintiff with due process.

  107. As a direct and proximate result of Defendant CSU’s actions, Plaintiff

       was dismissed from CSU and has sustained and continues to sustain

       injuries and damages.

   WHEREFORE, PREMISES CONSIDERED, Plaintiff prays that this Court:

     (a) Enter judgment against Defendants and in favor of Plaintiffs for actual

          damages for financial loss, damage to reputation, humiliation, mental



                                   - 21 -
Case: 1:22-cv-04425 Document #: 1 Filed: 08/19/22 Page 22 of 26 PageID #:22




          anguish, and emotional distress and punitive damages in amounts to

          be determined at trial and as are allowed under the statute;

     (b) Enter judgment against Defendants and in favor of each Plaintiff for

          an injunction prohibiting the Defendants’ wrongful actions, a fair

          investigation into Defendants and appropriate discipline of each of the

          individual Defendants, as well as readmitting Plaintiff to CSU to

          finish his degree;

     (c) Enter judgment against Defendants and in favor of Plaintiff for all

          costs sustained in connection with the prosecution of this action,

          including attorneys’ fees; and

     (d) Grant such other and further relief as justice requires.

                        SIXTH CAUSE OF ACTION
                               Negligence

  108. Plaintiff incorporates by reference the facts alleged in each and every

       allegation set forth in the preceding paragraphs of this Complaint as if

       fully set out herein.

  109. Defendant Jenkins and Defendant Shah were negligent in performing

       their duty or reasonable care and failed, neglected and/or refused to

       discharge their duty properly and fully by, among other things:

        a) Evaluating Plaintiff’s examination.



                                   - 22 -
Case: 1:22-cv-04425 Document #: 1 Filed: 08/19/22 Page 23 of 26 PageID #:23




  110. Defendants Rose and Reddy were negligent in performing their duty of

       reasonable care and failed, neglected and/or refused to discharge their

       duty properly and fully by, among other things:

        a) Failure to follow policy and procedure in grievance procedure;

        b) Failure to follow policy and procedure in dismissal procedure.

  111. Defendant CSU was negligent in performing its duty of reasonable care

       and failed, neglected and/or refused to discharge its duty properly and

       fully by, among other things:

        a) Failing to ensure that Plaintiff’s contractual educational services

           were being provided as per the terms of the contract;

        b) Failing to assist Plaintiff after being informed of the individual

           Defendant’s negligence.

  112. By their negligent conduct, Defendants directly and proximately caused

       Plaintiff financial harm. Plaintiff is confronted with an inability to

       complete his education, practice in his chosen profession, obtain the

       income of a pharmacist and to pay his mounting student loan debts.

       Plaintiff has suffered direct and financial losses due to Defendants’

       conduct.

  WHEREFORE, PREMISES CONSIDERED, Plaintiff prays that this Court:




                                  - 23 -
Case: 1:22-cv-04425 Document #: 1 Filed: 08/19/22 Page 24 of 26 PageID #:24




     (a) Enter judgment against Defendants and in favor of Plaintiffs for actual

          damages for financial loss, damage to reputation, humiliation, mental

          anguish, and emotional distress and punitive damages in amounts to

          be determined at trial and as are allowed under the statute;

     (b) Enter judgment against Defendants and in favor of each Plaintiff for

          an injunction prohibiting the Defendants’ wrongful actions, a fair

          investigation into Defendants and appropriate discipline of each of the

          individual Defendants, as well as readmitting Plaintiff to CSU to

          finish his degree;

     (c) Enter judgment against Defendants and in favor of Plaintiff for all

          costs sustained in connection with the prosecution of this action,

          including attorneys’ fees; and

     (d) Grant such other and further relief as justice requires.

                    SEVENTH CAUSE OF ACTION
                 Negligent Infliction of Emotional Distress

  113. Plaintiff incorporates by reference the facts alleged in each and every

       allegation set forth in the preceding paragraphs of this Complaint as if

       fully set out herein.

  114. Defendants’ actions caused Plaintiff emotional distress, worrying about

       his future academic, professional career and financial future.



                                   - 24 -
Case: 1:22-cv-04425 Document #: 1 Filed: 08/19/22 Page 25 of 26 PageID #:25




  115. Defendants should have known their actions would be injurious to

       Plaintiff.

  116. Defendants’ actions violated CSU’s policies and procedures.

  117. Defendants’ actions proximately caused Plaintiff’s injuries.

   WHEREFORE, PREMISES CONSIDERED, Plaintiff prays that this Court:

     (a) Enter judgment against Defendants and in favor of Plaintiffs for actual

          damages for financial loss, damage to reputation, humiliation, mental

          anguish, and emotional distress and punitive damages in amounts to

          be determined at trial and as are allowed under the statute;

     (b) Enter judgment against Defendants and in favor of each Plaintiff for

          an injunction prohibiting the Defendants’ wrongful actions, a fair

          investigation into Defendants and appropriate discipline of each of the

          individual Defendants, as well as readmitting Plaintiff to CSU to

          finish his degree;

     (c) Enter judgment against Defendants and in favor of Plaintiff for all

          costs sustained in connection with the prosecution of this action,

          including attorneys’ fees; and

     (d) Grant such other and further relief as justice requires.

                        JURY TRIAL DEMANDED

  Plaintiff hereby demands a trial by jury on all issues stated in this action.


                                    - 25 -
  Case: 1:22-cv-04425 Document #: 1 Filed: 08/19/22 Page 26 of 26 PageID #:26




Date: August 19, 2022                        Respectfully Submitted,




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